
The Office of Attorney Ethics having filed with the Court a petition pursuant to Rule 1:20-3(g) (4) and Rule 1:20-11, seeking the immediate temporary suspension from practice of ALFREDO RAMOS, JR. , of GARFIELD, who was admitted to the bar of this State in 2007, and good cause appearing;
It is ORDERED that ALFREDO RAMOS, JR., is temporarily suspended from the practice of law, effective immediately and until the further Order of this Court; and it is further
ORDERED that ALFREDO RAMOS, JR. , be restrained and enjoined from practicing law during the period of his suspension; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained by ALFREDO RAMOS, JR., pursuant to Rule 1:21-6 shall be restrained from disbursement expect on application to this Court for good cause shown and shall be transferred by the financial institution to the Clerk of the Superior Court, who is directed to deposit the funds in the Superior Court Trust Fund pending further Order of this Court; and it is further
ORDERED that ALFREDO RAMOS, JR., comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of the respondent's file as an attorney at law of this State.
